Case 5:20-cv-05174-PKH Document 13                Filed 09/28/20 Page 1 of 40 PageID #: 98




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF ARKANSAS
                             FAYETTEVILLE DIVISION



LEAGUE OF WOMEN VOTERS OF
ARKANSAS and
ROBERT WILLIAM ALLEN, JOHN
MCNEE, and AELICA I. ORSI,
                                                   Case No. 5:20-cv-05174-PKH
       Plaintiffs,

       v.
                                                   Expedited Relief Requested
JOHN THURSTON, in his official capacity
as the Secretary of State of Arkansas,             Oral Argument Requested
SHARON BROOKS, BILENDA
HARRIS-RITTER, WILLIAM LUTHER,
CHARLES ROBERTS, JAMES SHARP,
and J. HARMON SMITH, in their official
capacities as members of the Arkansas State
Board of Election Commissioners,

       Defendants.


                    MEMORANDUM OF LAW IN SUPPORT OF
              PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION




                                              i
Case 5:20-cv-05174-PKH Document 13                                       Filed 09/28/20 Page 2 of 40 PageID #: 99




                                                   TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1
FACTUAL BACKGROUND ......................................................................................................... 2
I.        PROCEDURE FOR ABSENTEE VOTING IN ARKANSAS .......................................... 2

          A.         Applying for an Absentee Ballot ............................................................................ 2
          B.         Casting an Absentee Ballot ..................................................................................... 4

II.       ARKANSAS LAW FAILS TO PROVIDE AN ADEQUATE SYSTEM FOR
          NOTICE AND CURE OF ABSENTEE BALLOTS REJECTED FOR
          SIGNATURE DEFICIENCIES .......................................................................................... 7

          A.         Arkansas’s Signature Requirements Are Highly Error-Prone ................................ 7
          B.         Unlike Other Ballot Deficiencies, Arkansas Law Provides No Notice and
                     Cure for Signature Deficiencies ............................................................................ 10

ARGUMENT ................................................................................................................................ 11
I.        LEGAL STANDARD FOR A PRELIMINARY INJUNCTION. .................................... 12
II.       PLAINTIFFS HAVE STANDING TO SEEK A PRELIMINARY INJUNCTION ........ 12

          A.         The Individual Voter Plaintiffs Have Standing .................................................... 13
          B.         The League of Women Voters of Arkansas Has Organizational Standing .......... 15

III.      PLAINTIFFS ARE LIKELY TO SUCCEED ON THE MERITS OF THEIR
          CLAIMS ........................................................................................................................... 18

          A.         Plaintiffs Are Likely to Succeed on Their Procedural Due Process Claim .......... 18

                     1.         Plaintiffs Have a Constitutionally Protected Interest in the Right to
                                Vote ........................................................................................................... 20
                     2.         Due Process Requires that Arkansas Provide Notice and an
                                Opportunity to Cure Signature-Related Deficiencies ............................... 21

          B.         Plaintiffs Are Likely to Succeed on Their Claim that Arkansas Law
                     Unduly Burdens the Fundamental Right to Vote .................................................. 26

IV.       PLAINTIFFS WILL SUFFER IRREPARABLE HARM ABSENT THIS
          COURT’S INTERVENTION ........................................................................................... 29
V.        THE BALANCE OF HARMS FAVORS GRANTING A PRELIMINARY
          INJUNCTION ................................................................................................................... 30
VI.       THE REQUESTED RELIEF WOULD BENEFIT THE PUBLIC INTEREST ............. 322
CONCLUSION ........................................................................................................................... 333




                                                                    ii
Case 5:20-cv-05174-PKH Document 13                                          Filed 09/28/20 Page 3 of 40 PageID #: 100




                                                  TABLE OF AUTHORITIES

CASES

Anderson v. Celebrezze, 460 U.S. 780, 103 S. Ct. 1564, 75 L. Ed. 2d 547 (1983) .................20, 27

Belles v. Schweiker, 720 F.2d 509 (8th Cir. 1983) ........................................................................13

Brady v. Nat’l Football League, 650 F.3d 785 (8th Cir. 2011) .....................................................18

Burdick v. Takushi, 504 U.S. 428 (1992).................................................................................27, 28

Crawford v. Marion Cty. Election Bd., 553 U.S. 181 (2008) (Stevens, J., controlling
   opinion) ....................................................................................................................................28

D.M. by Bao Xiong v. Minn. State High Sch. League, 917 F.3d 994 (8th Cir. 2019) ..............12, 18

Dataphase Sys., Inc. v. CL Sys., Inc., 640 F.2d 109 (8th Cir. 1981) (en banc)........................12, 30

Davidson v. Cannon, 474 U.S. 344 (1986) ....................................................................................19

Davis v. Fed. Election Comm’n, 554 U.S. 724 (2008) ..................................................................13

Democracy N.C. v. N.C. State Bd. of Elections, No. 1:20-cv-457, 2020 WL 4484063
  (M.D.N.C. Aug. 4, 2020) .............................................................................................18, 20, 31

Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312 (11th Cir. 2019) ............18, 27, 28, 29, 32

Frederick v. Lawson, --- F.3d ---, No. 1:19-cv-01959-SEB-MJD, 2020 WL 4882696
   (S.D. Ind. Aug. 20, 2020).......................................................................................18, 19, 27, 31

Friends of the Earth, Inc. v. Laidlaw Environmental Services, Inc., 528 U.S. 167 (2000) ...........12

Goldberg v. Kelly, 397 U.S. 254 (1970) ........................................................................................20

Granville House, Inc., v. Dept. of Health and Human Services, 715 F.2d 1292 (8th Cir.
   1983) ..................................................................................................................................15, 16

Harding v. Edwards, No. CV 20-495-SDD-RLB, Order, ECF-89 (M.D. La. Sept. 16,
   2020) (granting in part injunctive relief on September 16, 2020) ...........................................31

Havens Realty Corp. v. Coleman, 455 U.S. 363 (1982), superseded on other grounds by
   statute .......................................................................................................................................16

Iowa Utils. Bd. v. FCC, 109 F.3d 418 (8th Cir.1996)....................................................................30

Jones v. Governor of Fla., 950 F.3d 795 (11th Cir. 2020) .............................................................29




                                                                      iii
Case 5:20-cv-05174-PKH Document 13                                        Filed 09/28/20 Page 4 of 40 PageID #: 101




Kirkeby v. Furness, 52 F.3d 772 (8th Cir. 1995) ...........................................................................29

League of Women Voters of N. Carolina v. North Carolina, 769 F.3d 224 (4th Cir. 2014) .........31

Lewis v. Hughs, No. 5:20-CV-00577-OLG, 2020 WL 4344432 (W.D. Tex. July 28, 2020) ........27

Martin v. Kemp, 341 F. Supp. 3d 1326, 1341 (N.D. Ga. 2018), stay denied sub. nom Ga.
  Muslim Voter Project v. Kemp, 918 F.3d 1262 (11th Cir. 2019).....................18, 19, 20, 21, 32

Mathews v. Eldridge, 426 U.S. 319 (1976)..............................................................................21, 30

Memphis A. Phillip Randolph Inst. v. Hargett, 2020 WL 5095459 (M.D. Tenn. Aug. 28,
  2020) ........................................................................................................................................18

Morrissey v. Brewer, 408 U.S. 471 ................................................................................................21

Ne. Ohio Coal. for the Homeless v. Husted, 837 F.3d 612 (6th Cir. 2016), cert. denied,
    137 S. Ct. 2265 (2017) .................................................................................................16, 17, 28

Obama for Am. v. Husted, 697 F.3d 423 (6th Cir. 2012)................................................................29

OCA-Greater Houston v. Texas, 867 F.3d 604 (5th Cir. 2017) .....................................................16

Odebrecht Const., Inc. v. Sec’y, Fla. Dep’t of Transp., 715 F.3d 1268 (11th Cir. 2013)..............29

Paul v. Davis, 424 U.S. 693 (1976) ...............................................................................................20

People First of Ala. v. Sec’y of State for Ala., No. 20-12184, 815 Fed. App’x. 505 (11th
   Cir. June 25, 2020) ...................................................................................................................31

Porter v. Knickrehm, 457 F.3d 794 (8th Cir. 2006) .......................................................................21

Purcell v. Gonzalez, 549 U.S. 1 (2006) (per curiam) ..............................................................31, 32

Raetzel v. Parks/Bellemont Absentee Election Bd., 762 F. Supp. 1354 (D. Ariz. 1990) ...............20

Richardson v. Texas Sec’y of State, 2020 WL 5367216 (W.D. Tex. Sept. 8, 2020) .....................27

Rumsfeld v. Forum for Acad. and Institutional Rights, Inc., 547 U.S. 47 (2006) .........................13

Saucedo v. Gardner, 335 F. Supp. 3d 202, 222 (D.N.H. 2018) .........................................18, 19, 22

Self Advocacy Sols., N.D. v. Jaeger, No. 3:20-cv-00071, 2020 WL 2951012 (D.N.D. June
    3, 2020) ..............................................................................13, 18, 20, 21, 22, 24, 26, 28, 31, 32

Walker v. United States, 93 F.2d 383 (8th Cir. 1937) ....................................................................30

Wilkinson v. Austin, 545 U.S. 209 (2005) ......................................................................................20




                                                                     iv
Case 5:20-cv-05174-PKH Document 13                                   Filed 09/28/20 Page 5 of 40 PageID #: 102




Williams v. Salerno, 792 F.2d 323 (2d Cir. 1986) .........................................................................29

Yick Wo v. Hopkins, 18 U.S. 356 (1886) .......................................................................................21

Zessar v. Helander, No. 05-C-1917, 2006 WL 642646 (N.D. Ill. Mar. 13, 2006) ........................20

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STATUTES

42 U.S.C. § 3613(a)(1)(A) .............................................................................................................16

Ark. Code Ann. § 7-5-308(f)(2) .....................................................................................................25

Ark. Code Ann. § 7-5-323 .............................................................................................................11

Ark. Code Ann. §§ 7-5-402, 7-5-406 ...............................................................................................2

Ark. Code Ann. § 7-5-404(a)(2)(A)–(C) .......................................................................................25

Ark. Code. Ann. § 7-5-404(a)(2)(B)(i) ........................................................................................4, 5

Ark. Code Ann. § 7-5-404(a)(3) ..................................................................................................2, 3

Ark. Code Ann. § 7-5-411(a)(1)(B) ...............................................................................................26

Ark. Code. Ann. § 7-5-416(a)(1) ...............................................................................................5, 10

Ark. Code. Ann. § 7-5-416(b)(1)(F)(i) ............................................................................................6

Ark. Code Ann. § 7-5-416(b)(1)(F)(iii) .........................................................................................11

Ark. Code Ann. § 7-5-902 .........................................................................................................6, 24

Section 7-5-416(b)(1)(F)(ii) of the Arkansas Code ...................................................1, 6, 7, 8, 9, 10

OTHER AUTHORITIES

Ark. Const. Amendment 51 § 13(b)(5)(A)–(B) .............................................................................11

Ark. Const. Amendment 51§ 13(b)(5)(A)–(B ...............................................................................25

Ark. Exec. Order No. 20-44, Aug. 7, 2020, https://governor.arkansas.gov/images ......................26

Ark. Exec. Order No. 20-44, Aug. 7, 2020,
   https://governor.arkansas.gov/images/uploads/ .........................................................................5

Ark. Exec. Order No. 20-44, Aug. 7, 2020,
   https://governor.arkansas.gov/images/uploads/executiveOrders/EO_20-44.pdf. ......................2




                                                                 v
Case 5:20-cv-05174-PKH Document 13                                  Filed 09/28/20 Page 6 of 40 PageID #: 103




Ark. Exec. Order No. 20-45, Aug. 14, 2020, https://governor.arkansas.gov/images/
   uploads/executiveOrders/EO_20-45.pdf. .................................................................................26

Ark. Exec. Order No. 20-45, Aug. 14, 2020, https://governor.
   arkansas.gov/images/uploads/executiveOrders/EO_20-45.pdf .................................................5

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   https://www.sos.arkansas.gov/uploads/elections/Absentee_Ballot_Application.pdf ................3

Arkansas Secretary of State, How to Complete the Absentee Ballot Application,
   https://www.sos.arkansas.gov/uploads/elections/How_to_
   Complete_the_Absentee_Ballot_Application.pdf. ....................................................................3

Election Commissioners, Processing Absentee Ballots at 3-4, https://static.ark.org
   /eeuploads/elections/2020_Processing_Absentee_Ballot_Exercises.pdf (hereinafter
   “2020 Absentee Ballot Exercises”) ..................................................................................6, 9, 23

Federal Rule of Civil Procedure 65(a) ...........................................................................................11

Fourteenth Amendment .......................................................................................................2, 18, 20

http://www.publicnoticeads.com/AR/search/view.asp?T=PN.........................................................5

http://www.publicnoticeads.com/AR/search/view.asp?T=PN.........................................................6

https://arktimes.com/arkansas-blog/2020/02/21/joy-springer-wins-house-race. ...........................25

https://arktimes.com/arkansas-blog/2020/03/14/keith-brooks-wins-in-recount-of-
    republican-primary-race-for-house. .........................................................................................25

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    questions-about-absentee-ballot-applications-sees-strategy-to-discourage-voting. ................23

https://static.ark.org/eeuploads/elections/2020_CBEC..................................................................11

https://www.arkansasonline.com/news/2020/aug/30/....................................................................23

https://www.eac.gov/research-and-data/datasets-codebooks-and-surveys ....................................10

https://www.healthy.arkansas.gov/programs-services/topics/covid-19-county-data.......................1

https://www.vote411.org/arkansas. ................................................................................................17

Joseph Flaherty & Tony Holt, State Gears Up for Absentee Ballots.............................................23

Max Brantley, County Clerk Says Republicans Raising Questions about Absentee Ballot
  Applications, Sees ‘Strategy’ to Discourage Voting ................................................................23



                                                               vi
Case 5:20-cv-05174-PKH Document 13                                          Filed 09/28/20 Page 7 of 40 PageID #: 104




Max Brantley, Joy Springer Wins House Race ..............................................................................25

Max Brantley, Keith Brooks Wins in Recount of Republican Primary Race for House ................25

Pursuant to Governor Asa Hutchinson’s Executive Order No. 20-44 .............................................2

State’s “Absentee Ballot Training Exercises” .................................................................................6

U.S. CONST. amend. XIV, § 1 ........................................................................................................18

U.S. Constitution..............................................................................................................................2

SUSPECTS

Section 13(b)(1)(A)(i) ....................................................................................................................11

Amendment 51 ...............................................................................................................................11

Article III .................................................................................................................................12, 15

Due Process Clause ............................................................................................................18, 19, 20

Sec. II.A .........................................................................................................................................27

2020 WL 5371350, at *12 (M.D. La. Sept. 7, 2020) .....................................................................31

Section III.A ...................................................................................................................................32




                                                                      vii
Case 5:20-cv-05174-PKH Document 13                   Filed 09/28/20 Page 8 of 40 PageID #: 105




                                         INTRODUCTION

       When an absentee ballot is rejected due to a missing or mismatched signature, Arkansas

election officials do not inform the voter until after the election is over and there is no

opportunity for the voter to fix the alleged discrepancy. This failure to provide disenfranchised

voters with notice of and the opportunity to cure either alleged signature mismatches resulting

from the state’s error-prone signature matching process or missing signatures deprives absentee

voters of their fundamental right to vote and their right to due process. These rights are more

vital than ever. Arkansas election officials are expected to receive an unprecedented number of

absentee ballots during the November 2020 election, as the ongoing COVID-19 public health

crisis continues to impede the safety of public gatherings, including in-person voting.1 Given the

record number of Arkansas voters expected to cast absentee ballots this year, including many

first-time absentee voters, the number of ballots erroneously rejected—and the number of

eligible voters who are disenfranchised—will likewise surge.

       In view of the impending and irreparable harm awaiting many Arkansas absentee voters,

including those who would prefer to vote in person but do not want to risk their and their loved

ones’ health as a result of COVID-19, this Motion seeks limited but urgently needed relief.

Plaintiffs seek a preliminary injunction enjoining Defendants from enforcing Section 7-5-

416(b)(1)(F)(ii) of the Arkansas Code to the extent that it fails to provide absentee voters with

pre-rejection notice and a hearing or other opportunity to resolve alleged mismatched or missing

signatures—thus depriving absentee voters of their fundamental right to vote in violation of the


1
    To date, COVID-19 has infected more than 75,822 Arkansans and resulted in more than
    1,100 deaths in the State. Arkansas Department of Health, COVID-19 County Data (Sept.
    25, 2020, 6:13 PM), https://www.healthy.arkansas.gov/programs-services/topics/covid-19-
    county-data.




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Case 5:20-cv-05174-PKH Document 13                   Filed 09/28/20 Page 9 of 40 PageID #: 106




First and Fourteenth Amendments and of procedural due process in violation of the Fourteenth

Amendment to the U.S. Constitution. Specifically, Plaintiffs ask that this Court order

Defendants to require election officials to begin reviewing the outer envelopes of absentee

ballots and notifying voters whose ballots have signature-related discrepancies starting fifteen

days before the November election and give voters a chance to cure the issue up to three days

following the election.

                                   FACTUAL BACKGROUND

I.     Procedure for Absentee Voting in Arkansas

       Arkansas law authorizes certain eligible voters to cast absentee ballots by mail. Under

normal circumstances, other than voters who are overseas or in the military, absentee voting in

Arkansas is limited to voters who either will be unavoidably absent from their voting place on

the day of the election, or will be unable to attend the polls on Election Day because of illness or

physical disability. Ark. Code Ann. §§ 7-5-402, 7-5-406. Pursuant to Governor Asa

Hutchinson’s Executive Order No. 20-44, for the November 2020 General Election, any voter

concerned about COVID-19-related risks to their health or the health of others due to voting in

person is eligible to cast an absentee ballot. See Ark. Exec. Order No. 20-44, Aug. 7, 2020,

https://governor.arkansas.gov/images/uploads/executiveOrders/EO_20-44.pdf.

       A.      Applying for an Absentee Ballot

       The first step in the absentee voting process is for the voter to submit an absentee ballot

application by filling out and submitting a specified form or, alternatively, a “write-in” request.

Ark. Code Ann. § 7-5-404(a)(3). The application form must include the voter’s signature

attesting to the correctness of the information provided on the form, as well as a sworn statement

that the voter is registered to vote and that he or she is the person who is registered. Id. § 7-5-

405(a)(2)(G), 405(a)(3)(A). The applicant can submit the form: (i) in person at the office of the



                                                 2
Case 5:20-cv-05174-PKH Document 13                   Filed 09/28/20 Page 10 of 40 PageID #: 107




county clerk up until close of business on the day prior to the election; (ii) by mail, so long as the

county clerk receives the form no later than seven days before the election; or (iii) by electronic

means no later than seven days before the election. Id. § 7-5-404(a)(3)(A)(i-iii). The “write-in”

request process permits voters to submit a signed letter or postcard containing information

“sufficient for the county board of election commissioners and the county clerk to accept the

letter or postcard in lieu of the application form” or a written request transmitted by “electronic

means” that contains “the voter’s signature and other information sufficient for acceptance in

lieu of the application form.” Id. § 7-5-404(a)(3)(B). The written request must be received no

later than seven days before the election. Id.

       Whether the applicant submits by specified form or write-in request, he or she must sign

the document. Id. § 7-5-404(a)(1)(A). If the application is sent by electronic means, it “must

bear a verifiable facsimile of the applicant’s signature.” Id. § 7-5-404(a)(1)(B). The application

is then verified by the county clerk, who cross-checks the application information and signature

with the voter’s name, address, date of birth, and signature in the applicant’s registration record.

Id. § 7-5-404(a)(1)(A). If a county clerk deems that an applicant’s signature does not match or

is missing, the clerk must reject the application. Id. § 7-5-404(a)(2)(A). However, neither the

application itself, nor instructions released by the Arkansas Secretary of State regarding absentee

ballot applications, informs voters that their applications may be rejected because of a

mismatched signature. See Arkansas Secretary of State, Arkansas Application for Absentee

Ballot, https://www.sos.arkansas.gov/uploads/elections/Absentee_Ballot_Application.pdf;

Arkansas Secretary of State, How to Complete the Absentee Ballot Application, https://www.sos.

arkansas.gov/uploads/elections/How_to_Complete_the_Absentee_Ballot_Application.pdf.




                                                 3
Case 5:20-cv-05174-PKH Document 13                    Filed 09/28/20 Page 11 of 40 PageID #: 108




        If an application is rejected due to signature mismatch, the county clerk must notify the

voter “promptly,” but there is no specific time limit either for processing the application or for

notifying applicants of a rejection. Ark. Code. Ann. § 7-5-404(a)(2)(B)(i). Notice of the

rejection must be made both via the “most efficient means available,” including but not limited

to phone or email, and by first-class mail to the address where the voter is registered to vote. Id.

§ 7-5-404(a)(2)(C). County election officials regularly reach out to voters by phone or email if

there is a signature-related issue with their absentee ballot application. Declaration of Susan

Inman, attached as Ex. E (hereinafter “Inman Decl.”) ¶ 18. After providing notice to the voter,

the county clerk must “[e]lectronically record the rejection in the permanent system maintained

by the county clerk.” Id. § 7-5-404(a)(2)(B)(iii). This determination is final. While the clerk

must “[a]llow the voter to resubmit the request,” id. § 7-5-404(a)(2)(B)(ii), there is no provision

amending the general application deadlines—namely, received by the county clerk seven days

before election day if mailed or submitted electronically, and one day before election day if

delivered in person—for resubmitted applications.

        If the applicant’s eligibility is confirmed, the county clerk must mail an official absentee

ballot to the voter “as soon as practicable . . . .” Id. § 7-5-407(a)(2).

        B.      Casting an Absentee Ballot

        When the clerk sends the ballot, he or she also sends instructions for voting and returning

the absentee ballot, a secrecy envelope with the words “Ballot Only” printed on the outside; and

a sealable return envelope containing the address of the county clerk. Id. § 7-5-409(b)(1)–(3),

(5). The materials also include a printed “voter statement.” Id. § 7-5-409(b)(4). The voter

statement has blank spaces for the voter to provide his or her name, address, and date of birth,

and must be completed and signed under penalty of perjury. Id. The statement also includes an

optional, additional verification of identity—i.e., “a sworn statement portion that may be



                                                  4
Case 5:20-cv-05174-PKH Document 13                  Filed 09/28/20 Page 12 of 40 PageID #: 109




completed by the voter stating that the voter is registered to vote and that he or she is the person

who is registered”—that the voter may sign under penalty of perjury. Id. § 7-5-409(b)(4)(C).

The voter must return the signed voter statement with the absentee ballot. Id. § 7-5-412(a).

         Absentee ballots may be hand-delivered by the voter to the county clerk until close of

business the day before the election or returned by mail so long as the ballot is received in the

office of the county clerk by 7:30 pm on Election Day. Id. §§ 7-5-411(a)(1)(A), 7-5-411(a)(3).

Normally, the absentee ballot canvass is permitted to begin a week before the election, id. § 7-5-

416(a)(1), but under Arkansas Executive Orders 20-44 and 20-45, for the November 2020

General Election, election officials can begin opening outer envelopes “up to fifteen days”

before Election Day. Ark. Exec. Order No. 20-44, Aug. 7, 2020,

https://governor.arkansas.gov/images/uploads/ executiveOrders/EO_20-44.pdf; Ark. Exec. Order

No. 20-45, Aug. 14, 2020, https://governor. arkansas.gov/images/uploads/executiveOrders/

EO_20-45.pdf; Inman Decl. ¶ 13. Despite the foregoing statutory provisions, county election

commissioners, who make the final determination whether to reject a ballot after it has been

flagged for review by election workers during the canvassing process, typically do not meet to

review the voter statements (while keeping the envelopes sealed) until Election Day, when

officials may begin opening the inner absentee ballot envelope and counting the absentee ballots

beginning at “8:30 am on election day.” Ark. Code. Ann. § 7-5-416(a)(1); see Inman Decl. ¶¶

13–14. Further, in many counties, the initial canvassing by election workers itself does not begin

until Election Day.2



2
    See, e.g., Ashley County October 31, 2018 Public Notice (stipulating that the “opening and
       processing” of absentee ballots “will begin at 5:00 p.m.” on Election Day), http://www.
       publicnoticeads.com/AR/search/view.asp?T=PN&id=3107/10302018_25058733.htm;
       Boone County November 1, 2018 Public Notice (stipulating that the “Processing,




                                                5
Case 5:20-cv-05174-PKH Document 13                 Filed 09/28/20 Page 13 of 40 PageID #: 110




       In canvassing absentee ballots, election officials compare, among other things, the

signature of the voter’s absentee application with the signature of the voter’s statement submitted

with their ballot. Ark. Code. Ann. § 7-5-416(b)(1)(F)(i); Inman Decl. ¶ 12. If the election

officials perceive a signature mismatch or other discrepancy, they re-seal the absentee ballot

envelope and send it to the three-member county board of elections commissioners, who will

ultimately vote to determine whether the ballot should be rejected. Inman Decl. ¶ 12. If the

county board of election commissioners determines that the signatures in the application and the

voter’s statement do not match, Ark. Code. Ann. § 7-5-416(b)(1)(F)(ii) mandates that the ballot

be rejected. Similarly, absentee ballots with missing signatures must be rejected. Id. For

example, the State’s “Absentee Ballot Training Exercises” document indicates that an absentee

ballot “CANNOT be Counted” if the voter statement is “NOT signed.” See Inman Decl., Ex. 1,

Arkansas State Board of Election Commissioners, Processing Absentee Ballots at 3-4,

https://static.ark.org/eeuploads/elections/2020_Processing_Absentee_Ballot_Exercises.pdf

(hereinafter “2020 Absentee Ballot Exercises”).

       After Election Day, the county board of elections commissioners must notify any voter

whose vote—including an absentee vote—was not counted by providing written notification that

states the reason or reasons the vote was not counted. Ark. Code Ann. § 7-5-902; Inman Decl.



    Canvassing & Counting of absentee ballots will be Tuesday November 6th starting at 1pm),
    http://www.publicnoticeads.com/AR/search/view.asp?T=PN&id=3117/11092018_
    25077209.htm; Carroll County October 23, 2018 Public Notice (stipulating that the
    “Processing of Absentee and Early Votes will begin at 1:00 p.m. on November 6”),
    http://www.publicnoticeads.com/AR/search/view.asp?T=PN&id=3120/10222018_25044441
    .htm; Pike County November 1, 2018 Public Notice (“Absentee ballots opened, processed,
    canvassed, counted in the County Clerk’s Office 4:00 p.m. on November 6th, 2018.”),
    http://www.publicnoticeads.com/AR/search/view.asp?T=PN&id=3192/1122019_25174238.
    htm.




                                               6
Case 5:20-cv-05174-PKH Document 13                 Filed 09/28/20 Page 14 of 40 PageID #: 111




¶ 16. This is done to prevent the voter from making the same mistake when filling out the

absentee ballot voter statement in a future election. Inman Decl. ¶ 16. Obviously, however, this

notice is too late to prevent the harm to the voter caused by disenfranchisement in the current

election.

II.    Arkansas Law Fails to Provide an Adequate System for Notice and Cure of
       Absentee Ballots Rejected for Signature Deficiencies

       A.      Arkansas’s Signature Requirements Are Highly Error-Prone

       As noted, absentee ballots are rejected if the county board of elections commissioners

determines that the signature on the voter’s statement, returned with the absentee ballot, does not

match the voter’s signature on his or her absentee application. In that case, Ark. Code Ann. § 7-

5-416(b)(1)(F)(ii) mandates that the ballot be rejected. However, the procedure for determining

signature match is highly-error prone, particularly given that it is conducted by laypersons

without any training in signature verification and established from an extremely small sample

size of two signatures. Ex. F, Declaration of Dr. Linton A. Mohammed (hereinafter

“Mohammed Decl.”) ¶¶ 31 et seq. Indeed, according to Forensic Document Examiner Dr.

Linton A. Mohammed, under the present system, “inevitably, Arkansas election officials will

make erroneous signature-comparison determinations.” Id. ¶ 32 (emphasis added).

       Academic research has demonstrated that laypersons, such as Arkansas election officials,

are unable to reliably distinguish between genuine and inauthentic signatures. Id. ¶ 33. They

have a “significantly higher rate of error in determining whether signatures are genuine” and are

“more likely [than trained Forensic Document Examiners] to wrongly determine that authentic

signatures are not genuine than to make the opposite error.” Id. For example, in a 2001 study

published in the Journal of Forensic Science, laypersons incorrectly concluded that signatures

were inauthentic twenty-six percent of the time. Id. ¶ 40. Trained Forensic Document




                                               7
Case 5:20-cv-05174-PKH Document 13                  Filed 09/28/20 Page 15 of 40 PageID #: 112




Examiners made such errors in only seven percent of cases. Id. In other words, lay people

without training were three-and-a-half times more likely than forensic document examiners to

reject ballots based on erroneous signature comparisons. Id.

        Laypeople are also more likely to wrongly determine that signatures are not genuine

because they fail to account for natural variations in the signatures of one person—i.e.,

“deviations of personal, subconscious characteristics normally demonstrated in the habits of each

writer.” Id. ¶¶ 38, 41. Some writers have wide ranges of variation in their signatures. Id. ¶ 43.

Yet untrained reviewers like Arkansas election officials may mistake such natural variations for

“differences” in signatures between multiple people. Id. ¶ 45. Forensic science has recognized

for decades that the risk of a false signature mismatch finding is especially high for elderly,

disabled, or ill voters, since those populations have a higher degree of variance between

signatures, making it more likely that the signature on the ballot application and voter statement

will not be identical. Id. ¶ 48. For example, Dr. Mohammed demonstrates that the signatures of

plaintiff Ms. Orsi, who suffers from a tremor, “exhibit a wide range of variation” that “could

easily be mistaken as differences that indicate two writers which would result in the incorrect

rejection of the voter’s ballot.” Id. ¶ 53.

        Further, even for voters who do not fall into those categories, there are numerous reasons

why a person’s signature might vary between two documents. One of the leading textbooks on

handwriting examination identified twenty reasons, some of which relate to an individual’s

health, age, or physical or mental condition, while others stem from environmental factors—for

example, the writing utensil the individual used or the particular writing surface used in the

course of the signature. Id. ¶ 47.




                                                8
Case 5:20-cv-05174-PKH Document 13                  Filed 09/28/20 Page 16 of 40 PageID #: 113




       Election officials have little-to-no guidance in assessing whether two voter signatures

match. In fact, even trained Forensic Document Examiners “would be prone to erroneous

determinations due to the limited number of comparison signatures and the lack of proper

equipment” under Arkansas’s signature matching system. Id. ¶ 60. State Board of Elections

training materials provide only that ballots should be rejected for signature mismatch if there is a

“distinct and easily recognizable difference” between the signatures, but should not be rejected if

they “are similar”—with no guidance on how these terms should be understood or applied. Id.

¶¶ 17, 19, 22, 27; see also 2020 Absentee Ballot Exercises. The training materials also stipulate

that absentee ballots with missing signatures must be rejected, even where it is clearly evident

that it is the voter that has submitted the ballot—for example, where the voter signs the optional

verification of identity statement located at the bottom of the voter statement, but fails to sign the

signature line for the ballot itself, which is located at the middle of the same page. See 2020

Absentee Ballot Exercises, 3–4.

       The inadequacy of statewide training and lack of uniform standards, procedures, and

enforcement in relation to signature deficiencies is also apparent in the significant variation in

county practice in rejecting absentee ballots on these grounds. Inman Decl. ¶ 28. For decades,

local election officials have enforced Arkansas laws relating to the review and rejection of

absentee ballots for missing or mismatched signatures, “haphazardly and arbitrarily.” Id. ¶ 26.

County election statistics demonstrate this haphazardness: for example, Crawford County went

from having twenty-six signature-related rejections in the November 2016 election to having

seven signature-related rejections in the November 2018 election, while Miller County saw an

increase in the number of signature-related rejections from three in November 2016 to thirteen in

November 2018. In November 2016, signature-related rejections accounted for sixty-seven




                                                9
Case 5:20-cv-05174-PKH Document 13               Filed 09/28/20 Page 17 of 40 PageID #: 114




percent of Poinsett County’s and nearly fifty percent of Faulkner County’s total absentee ballot

rejections, while many other counties reported zero signature-related rejections. Id. ¶¶ 29–30.

       According to the Election Administration and Voting Survey conducted by the United

States Election Assistance Commission, 94 and 21 absentee ballots were rejected in Arkansas

due to non-matching signatures and 179 and 85 absentee ballots were rejected due to missing

signatures in the November 2016 General Election and 2018 elections respectively. Id. ¶ 30.3

       B.      Unlike Other Ballot Deficiencies, Arkansas Law Provides No Notice and
               Cure for Signature Deficiencies

       There is no opportunity for cure for voters whose absentee ballots are rejected due to

signature mismatch or a missing signature, nor do they receive notice prior to Election Day.

Ark. Code Ann. § 7-5-416(b)(1)(F)(ii); Inman Decl. ¶¶ 14–16. Because final decisions by the

county board of elections commissioners as to whether to accept or reject absentee ballots are not

made until Election Day, Ark. Code. Ann. § 7-5-416(a)(1); Inman Decl. ¶¶ 13–14, it is

necessarily impossible to notify voters of a rejection until after the election. According to Susan

Inman, a former Elections Director for Pulaski County, even when she learned of potential issues

with mismatched or missing signatures, she could not contact the voter to cure the purported

deficiency “because the board of election commissioners had not made a final decision about

whether or not to count the ballot . . . and there was no procedure for providing notice or an

opportunity to cure the discrepancy in that situation under state law.” Inman Decl. ¶ 15.

       By contrast, other Arkansas laws provide absentee applicants and voters with additional

procedural protections and the opportunity to cure deficiencies in order to prevent

3
    Election Administration and Voting Survey Datasets (“EAVS 2016”) (2016),
    https://www.eac.gov/research-and-data/datasets-codebooks-and-surveys; Election
    Administration and Voting Survey Datasets Version 1.2 (“EAVS 2018”) (Feb. 18, 2020),
    https://www.eac.gov/research-and-data/datasets-codebooks-and-surveys.




                                               10
Case 5:20-cv-05174-PKH Document 13                Filed 09/28/20 Page 18 of 40 PageID #: 115




disenfranchisement. For instance, if an absentee ballot is rejected due to the failure to provide

the required voter identification, the ballot will be marked as provisional. Ark. Const.

Amendment 51 § 13(b)(5)(A)–(B); Ark. Code Ann. § 7-5-416(b)(1)(F)(iii); Ark. Code Ann. § 7-

5-323. Provided there is no other basis to invalidate the ballot (as determined by the county

board of elections commissioners), a voter may then cure the deficiency by either providing a

sworn verification of identity affirmation or by verifying his or her voter registration to the

county clerk or county board of elections commissioners by 12:00 pm on the Monday following

the election by presenting a copy of a document or identification card that complies with Section

13(b)(1)(A)(i) of Arkansas Constitutional Amendment 51. Ark. Const. Amendment 51 §

13(b)(5)(A)–(B); see also Arkansas State Board of Election Commissioners, County Board of

Election Commissioners Procedures Manual 42, 92 (2020 ed.), https://static.ark.org/eeuploads/

elections/2020_CBEC _Manual_for_UALR_FINAL_9-10-19.pdf.

                                           ARGUMENT

       Plaintiffs urgently seek a preliminary injunction pursuant to Federal Rule of Civil

Procedure 65(a) that would enjoin election officials from rejecting absentee ballots on the basis

of an allegedly mismatched or missing signature without providing pre-rejection notice and an

opportunity to be heard. Instead, Plaintiffs ask that this Court order Defendants to: (i) require

election officials to begin the process of matching voters’ absentee ballot and application

materials and determining whether there are any deficiencies based on a missing signature or a

mismatch between the absentee ballot voter statement and the absentee ballot application starting

fifteen days before the November 2020 election (as permitted by Arkansas law); (ii) require

election officials to provide immediate notice to voters by the most efficient means possible,

including first-class mail and, where available, by email or phone, of any deficiencies in their

absentee ballots based on a missing signature or a mismatch with their absentee ballot



                                                11
Case 5:20-cv-05174-PKH Document 13                Filed 09/28/20 Page 19 of 40 PageID #: 116




application materials; and (iii) permit voters whose absentee ballots are deficient on those

grounds to cure the deficiency by email, mail, fax, or in-person, up to three days following the

election. In the alternative, Plaintiffs request that Defendants expand the existing process

through which voters may cure certain deficiencies in their provisional ballots up to 12:00 p.m.

on the Monday following the election to include absentee ballot deficiencies based on a missing

signature or a mismatch with a voter’s absentee ballot application; and that Defendants update

their election guides, manuals, guidance, instructional materials, etc., to conform with the revised

procedures.

I.     Legal Standard for a Preliminary Injunction.

       When determining whether to grant a preliminary injunction, courts consider: (i) “the

probability that movant will succeed on the merits”; (ii) “the threat of irreparable harm to the

movant”; (iii) “the state of balance between this harm and the injury that granting the injunction

will inflict on other parties litigant”; and (iv) “the public interest.” Dataphase Sys., Inc. v. CL

Sys., Inc., 640 F.2d 109, 113 (8th Cir. 1981) (en banc) (cited with approval in D.M. by Bao Xiong

v. Minn. State High Sch. League, 917 F.3d 994, 999 (8th Cir. 2019)). As demonstrated below,

each of these factors is readily met in the present case.

II.    Plaintiffs Have Standing to Seek a Preliminary Injunction

       Plaintiffs have standing to bring this action. To satisfy the Article III standing

requirement, Plaintiffs must demonstrate that they have “(1) suffered an ‘injury in fact’ that is (a)

concrete and particularized and (b) actual or imminent, not conjectural or hypothetical; (2) the

injury is fairly traceable to the challenged action of the defendant; and (3) it is likely, as opposed

to merely speculative, that the injury will be redressed by a favorable decision.” Friends of the

Earth, Inc. v. Laidlaw Environmental Services, Inc., 528 U.S. 167, 180–181 (2000) (internal

citation omitted). The “presence of one party with standing is sufficient to satisfy Article III’s



                                                12
Case 5:20-cv-05174-PKH Document 13               Filed 09/28/20 Page 20 of 40 PageID #: 117




case-or-controversy requirement.” Rumsfeld v. Forum for Acad. and Institutional Rights, Inc.,

547 U.S. 47, 52 n.2 (2006) (internal citation omitted). Here, all Plaintiffs meet the requirements

for standing.

       A.       The Individual Voter Plaintiffs Have Standing

       Individual voter Plaintiffs Dr. Robert William Allen, John McNee, and Aelica I. Orsi

have standing to bring suit in this case.

       The requirement of “injury in fact” is satisfied where the plaintiffs’ “threatened injury is

real, immediate, and direct.” Davis v. Fed. Election Comm’n, 554 U.S. 724, 734–735 (2008)

(finding sufficient injury in the context of an “asymmetrical” campaign financing amendment).

Here, the imminent, threatened injury to the individual voter Plaintiffs—that they will be

disenfranchised due to an erroneous determination of a mismatched or missing signature

mismatch or date of birth—is traceable to the Defendants’ challenged actions because it “stem[s]

from failure to adopt adequate procedures” for processing absentee ballots. Self Advocacy Sols.,

N.D. v. Jaeger, No. 3:20-cv-00071, 2020 WL 2951012, at *5-6 (D.N.D. June 3, 2020); see also

Belles v. Schweiker, 720 F.2d 509, 514-15 (8th Cir. 1983) (finding plaintiff’s indirect injury

traceable to defendant government agency based on allegation of failure to provide procedures

for notice and opportunity to respond).

       Plaintiffs Dr. Allen, Mr. McNee, and Ms. Orsi are Arkansas residents and registered

voters in Pope County, Pulaski County, and Pulaski County, respectively. Declaration of Robert

William Allen, attached as Ex. B (hereinafter “Allen Decl.”) ¶ 5; Declaration of John Robert

McNee, attached as Ex. C (hereinafter “McNee Decl.”) ¶ 3; Declaration of Aelica I. Orsi,

attached as Ex. D (hereinafter “Orsi Decl.”) ¶ 3. Dr. Allen has Stage 4 cancer and a brain tumor,

is confined to his home, and as a result of his medical conditions and ongoing intensive

chemotherapy, his handwriting and signature vary and continue to deteriorate. Allen Decl. ¶¶ 7–



                                               13
Case 5:20-cv-05174-PKH Document 13                Filed 09/28/20 Page 21 of 40 PageID #: 118




10, 12. Mr. McNee is a 71-year-old attorney with a heart pacemaker and a prosthetic heart

valve, and due to his age and medical condition, his handwriting and signature are inconsistent.

McNee Decl. ¶ 4. Ms. Orsi has suffered a brain injury and epilepsy, which causes severe and

uncontrollable tremors in her hands. Orsi Decl. ¶¶ 6-8; Mohammed Decl. ¶ 53.

       All three individual Plaintiffs plan to vote absentee in the upcoming November general

election. Dr. Allen filed a request for an absentee ballot several months ago, but due to “chemo

fog,” he cannot remember if he signed his name as “Robert” or “Bob” or how he drafted his

signature. Allen Decl. ¶¶ 11, 14. Since Dr. Allen completed his absentee ballot application for

the November 2020 election, he has endured brain surgery (approximately five weeks ago),

radiation treatment (approximately a week ago), and intensive chemotherapy (on an ongoing

basis), all of which has further impacted his energy level and motor skills. Id. ¶ 15. Mr. McNee

has also filed an absentee ballot application and received an absentee ballot for the upcoming

election, but he is unable to recall how he signed his name on his application materials, including

whether he used his first name, his middle initial, or his full first and middle names. McNee

Decl. ¶¶ 6–8. Further, the natural variations in his signature make it entirely possible that that

his ballot could be rejected for perceived mismatch, as Dr. Mohammed explains. Mohammed

Decl. ¶ 54. Neither Dr. Allen nor Mr. McNee knew at the time they filled out their absentee

ballot applications that a signature on the ballot application that did not “correspond” with the

one provided on the ballot could invalidate the ballot, and that it could be so rejected without any

notice or opportunity to cure beforehand. Allen Decl. ¶ 13; McNee Decl. ¶ 7.

       Ms. Orsi knew about the signature matching requirement from news reports when she

filled out her absentee ballot application—which is why she photographed her signature on the

application as she was worried that due to her hand tremor, her subsequent signature would be




                                                14
Case 5:20-cv-05174-PKH Document 13                Filed 09/28/20 Page 22 of 40 PageID #: 119




deemed dissimilar and rejected. Orsi Decl. ¶¶ 10-11. When she signed her absentee ballot, her

tremor was bothering her despite her efforts to suppress it. Id. ¶ 12. When Ms. Orsi signed the

statement, she accidentally started to sign using her nickname, “Ally,” but once she realized she

was required to sign her full name, she changed midway to write “Aelica.” Id. She was so

concerned that the signature on the voter statement would be rejected that she made a separate

photocopy of the voter statement to fill out. Id. ¶ 13. Her daughter had to assist her in filling out

the printed part of the photocopied voter statement; her tremor made it especially difficult to

write in small enough text. Id. Once her daughter completed the printed portion, Ms. Orsi

signed the photocopy of the voter statement, which she intends to submit with her absentee

ballot. Id. As Dr. Mohammed explains, these three signatures, as well as the signature on Ms.

Orsi’s Driver’s License, “exhibit a wide range of variation” and that could be mistaken for

differences resulting in rejection for a perceived signature mismatch. Mohammed Decl. ¶ 53.

       Dr. Allen, Mr. McNee, and Ms. Orsi all wish to vote in the November election and in

future elections, but they fear their imminent disenfranchisement on the direct basis of purported

signature mismatch. Allen Decl. ¶ 16; McNee Decl. ¶ 9; Orsi Decl. ¶¶ 10, 14–15.

       B.      The League of Women Voters of Arkansas Has Organizational Standing

       Plaintiff League of Women Voters of Arkansas (“LWVAR”) also has standing to seek a

preliminary injunction.

       The doctrine of Article III standing applies to individuals and organizations alike. See

Granville House, Inc., v. Dept. of Health and Human Services, 715 F.2d 1292, 1297–98 (8th Cir.

1983) (applying Article III requirements of injury in fact, causation, and redressability to

nonprofit corporation and finding standing). A determination whether an organization has

standing in its own right is separate from an analysis of the standing of its members. Id. at 1298.




                                                15
Case 5:20-cv-05174-PKH Document 13                Filed 09/28/20 Page 23 of 40 PageID #: 120




       Among other recognized forms of harm, if an organization diverted resources to respond

to an allegedly unlawful action, or if the challenged action resulted in a tangible frustration of the

organization’s mission, that organization has standing to bring suit. See Havens Realty Corp. v.

Coleman, 455 U.S. 363, 368, 378–379 (1982), superseded on other grounds by statute 42 U.S.C.

§ 3613(a)(1)(A); Granville House, Inc., 715 F.2d at 1297–98; see also OCA-Greater Houston v.

Texas, 867 F.3d 604, 610–612 (5th Cir. 2017) (determining a nonprofit dedicated to protecting

Asian American voting rights had standing since the organization had to redirect resources

toward educating members how to comply with Texas voting laws affecting translation services);

Ne. Ohio Coal. for the Homeless v. Husted, 837 F.3d 612, 623-24 (6th Cir. 2016), cert. denied,

137 S. Ct. 2265 (2017) (determining a nonprofit dedicated to helping people experiencing

homelessness vote had standing since it had to use “more volunteers, time, and expenditures” to

help individuals participate in early in-person rather than mail-in voting due to more stringent

voter identification requirements).

       Here, LWVAR has organizational standing because, as a result of the specific risks of

disenfranchisement in the November general election, LWVAR must divert more resources

toward warning voters through increased educational efforts against these risks, adjusting their

education to address common questions from members of the public, and following up with

voters to ensure their ballots are counted. LWVAR is a nonpartisan, nonprofit, membership

organization dedicated to promoting civic engagement, including through advocacy, voter

education, and voter assistance. An affiliate of the League of Women Voters of the United

States, LWVAR has approximately 280 members across the State of Arkansas, and has seen an

increase in membership and members planning to vote by absentee ballot in November due to

the COVID-19 pandemic. Declaration of Nell Matthews Mock, attached as Ex. A (hereinafter




                                                16
Case 5:20-cv-05174-PKH Document 13               Filed 09/28/20 Page 24 of 40 PageID #: 121




“Matthews Decl.”) ¶¶ 6, 8. Traditionally, LWVAR expends its resources by, inter alia,

organizing voter registration drives, holding events and candidate forums, distributing voter

guides and absentee ballot applications, answering questions on general voting requirements, and

fundraising. Id. ¶¶ 7, 10–14, 22. In this context, LWVAR also uses VOTE411.org, an online

voter education resource created by the League of Women Voters Education Fund that allows

voters to check registration or register to vote, learn about candidates and ballot measures, learn

about different methods of voting, identify polling places, and access election updates from the

state. See VOTE411.org, Arkansas Voting Information, https://www.vote411.org/arkansas.

       Due to the absence of adequate notice-and-cure procedures in Arkansas’s signature

matching and verification system, LWVAR must divert resources away from its regular activities

to provide additional voter education and assistance services specific to signature issues. Id.

¶ 22. LWVAR has received and responded to an increased number of calls asking questions

about the signature requirements in particular, especially in the wake of news articles reporting

pressure on election officials in Arkansas to reject absentee ballot applications due to signature

match deficiencies. Id. ¶ 18. Some voters with whom LWVAR members speak are entirely

unaware of the signature requirements and the risk of rejection. Id. ¶ 19. As such, LWVAR

members are engaging in proactive voter education and assistance efforts to help advise

Arkansas voters with respect to, among other things, the State’s signature requirements. Id. ¶ 22.

       All of these efforts require LWVAR to divert its resources away from its regular

advocacy, voter registration, and fundraising activities. See id. This diversion of resources is

likely to continue after the election, in order for LWVAR to respond to inquiries from voters

whose absentee ballots were rejected due to mismatched or missing signatures. Id. ¶ 23.




                                               17
Case 5:20-cv-05174-PKH Document 13                 Filed 09/28/20 Page 25 of 40 PageID #: 122




III.     Plaintiffs Are Likely to Succeed on the Merits of Their Claims

         Where a preliminary injunction is sought to enjoin the enforcement of a “duly enacted

state statute,” the district court applies the “likely-to-prevail” standard. D.M. by Bao Xiong, 917

F.3d at 999–1000 (8th Cir. 2019). “While no one factor is dispositive, the likelihood of success

on the merits is most important.” Jaeger, 2020 WL 2951012, at *7 (citing Brady v. Nat’l

Football League, 650 F.3d 785, 789 (8th Cir. 2011)).

         Courts across the country, including in this circuit, have granted injunctive relief after

finding that similar absentee ballot signature regimes that lack adequate notice and cure

procedures are likely unconstitutional deprivations of due process or burdens on the fundamental

right to vote. See, e.g., Jaeger, 2020 WL 2951012, at *12; Martin v. Kemp, 341 F. Supp. 3d

1326, 1341 (N.D. Ga. 2018), stay denied sub. nom Ga. Muslim Voter Project v. Kemp, 918 F.3d

1262 (11th Cir. 2019); Saucedo v. Gardner, 335 F. Supp. 3d 202, 222 (D.N.H. 2018);

Democratic Exec. Comm. of Fla. v. Lee, 915 F.3d 1312, 1321 (11th Cir. 2019); Frederick v.

Lawson, --- F.3d ---, No. 1:19-cv-01959-SEB-MJD, 2020 WL 4882696, at *13-*16 (S.D. Ind.

Aug. 20, 2020); Democracy N.C. v. N.C. State Bd. of Elections, No. 1:20-cv-457, 2020 WL

4484063, at *53-55 (M.D.N.C. Aug. 4, 2020).4 Here too, Plaintiffs are likely to succeed on the

merits of both of their claims.

         A.     Plaintiffs Are Likely to Succeed on Their Procedural Due Process Claim

         Plaintiffs are likely to succeed on the merits of their procedural due process claim. The

Due Process Clause of the Fourteenth Amendment provides that a state shall not “deprive any

person of life, liberty, or property, without due process of law.” U.S. CONST. amend. XIV, § 1.


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       But see Memphis A. Phillip Randolph Inst. v. Hargett, 2020 WL 5095459, at *7-8 (M.D.
       Tenn. Aug. 28, 2020) (finding no cognizable liberty interest) (appeal pending).




                                                 18
Case 5:20-cv-05174-PKH Document 13                Filed 09/28/20 Page 26 of 40 PageID #: 123




In assessing whether a state action violates the Due Process Clause, the Court first inquires

whether “the asserted individual interests are encompassed within the Fourteenth Amendment’s

protection of ‘life, liberty, or property’”; and then determines “what procedures constitute ‘due

process of law.’” Davidson v. Cannon, 474 U.S. 344, 353 (1986) (internal citation omitted).

       Courts across the country have found that signature matching and rejection procedures

similar to Arkansas’s violate the Due Process Clause, or are “substantially likely” to do so. See,

e.g., Frederick v. Lawson, --- F.3d ---, No. 1:19-cv-01959-SEB-MJD, 2020 WL 4882696, at

*15 (S.D. Ind. Aug. 20, 2020); finding Indiana’s signature matching system violated procedural

due process both facially and as applied “for lack of any notification of the ballot rejection to the

affected voter or opportunity to challenge the rejection”); Saucedo, 335 F. Supp. at 222 (finding

New Hampshire’s signature matching system, “taken as a whole, and in light of the fundamental

importance of the right to vote,” violated procedural due process because of the “sole,

unreviewable discretion” of election officials, the “natural variations in voters’ signatures

combined with the absence of training and functional standards on handwriting analysis, and the

lack of any review process or compliance measures”); id. at 214–216 (collecting cases); see also,

e.g., Martin, 341 F. Supp. 3d at 1338–40 (finding a “substantial likelihood” that Georgia’s

signature matching system violated procedural due process because, inter alia, there was “simply

no guarantee [under the existing cure provision] that such voters’ signatures might match on a

second absentee ballot” and the requested relief—which would incur “minimal administrative

burdens while still furthering the State’s asserted interest”—would have “the very tangible

benefit of avoiding disenfranchisement”).




                                                19
Case 5:20-cv-05174-PKH Document 13                 Filed 09/28/20 Page 27 of 40 PageID #: 124




                1.      Plaintiffs Have a Constitutionally Protected Interest in the Right to
                        Vote

        The fundamental right to vote is a core liberty interest under the Due Process Clause, and

thus cannot be deprived without due process. Self Advocacy Sols. N.D. v. Jaeger, No. 3:20-CV-

00071, 2020 WL 2951012, at *8 (D.N.D. June 3, 2020) (“Beyond debate, the right to vote is a

constitutionally protected liberty interest.”); see also Anderson v. Celebrezze, 460 U.S. 780, 787,

103 S. Ct. 1564, 1569, 75 L. Ed. 2d 547 (1983). Arkansas has created a statutory right to

absentee voting to effectuate this fundamental right, and having done so, has provided those

voters with a protected liberty interest. See Wilkinson v. Austin, 545 U.S. 209, 221 (2005) (“A

liberty interest may arise from the Constitution itself . . . or it may arise from an expectation or

interest created by state laws or policies.”) (internal citations omitted). Thus, courts have

repeatedly recognized that “[w]hile it is true that absentee voting is a privilege and a convenience

to voters, this does not grant the state the latitude to deprive citizens of due process with respect

to the exercise of this privilege.” See, e.g., Democracy N.C. v. N.C. State Bd. of Elections, No.

1:20-cv-457, 2020 WL 4484063, at *53 (M.D.N.C. Aug. 4, 2020) (citing Martin, 341 F. Supp.

3d at 1338 (quoting Raetzel v. Parks/Bellemont Absentee Election Bd., 762 F. Supp. 1354, 1358

(D. Ariz. 1990)); Jaeger, 2020 WL 2951012, at *8 (“[A] state that creates a system for absentee

voting ‘must administer it in accordance with the Constitution.’”) (citing Martin, 341 F. Supp. 3d

at 1338 (quoting Zessar v. Helander, No. 05-C-1917, 2006 WL 642646, at *6 (N.D. Ill. Mar. 13,

2006))); see also Paul v. Davis, 424 U.S. 693, 710–12 (1976) (explaining that liberty or property

interests can “attain [] constitutional status by virtue of the fact that they have been initially

recognized and protected by state law” and observing that the Supreme Court has “repeatedly

ruled that the procedural guarantees of the Fourteenth Amendment apply whenever the State

seeks to remove or significantly alter that protected status”); Goldberg v. Kelly, 397 U.S. 254,




                                                 20
Case 5:20-cv-05174-PKH Document 13                Filed 09/28/20 Page 28 of 40 PageID #: 125




262 (1970) (finding statutory entitlement to welfare benefits triggered protection of the due

process clause).

               2.      Due Process Requires that Arkansas Provide Notice and an
                       Opportunity to Cure Signature-Related Deficiencies

       “[O]nce it is determined that due process applies,” Morrissey v. Brewer, 408 U.S. 471,

the Court must apply the three-factor test established by the Supreme Court in Mathews v.

Eldridge to determine what process is due, balancing (i) “the private interest that will be affected

by the state action”; (ii) “the risk of erroneous deprivation of that interest through the procedures

used, and the value of any additional or substitute procedures”; and (iii) the “state’s interest.”

Porter v. Knickrehm, 457 F.3d 794, 798 (8th Cir. 2006) (citing Mathews v. Eldridge, 426 U.S.

319, 335 (1976)). These elements each militate in Plaintiffs’ favor.


               a)      Plaintiffs’ Interest in the Fundamental Right to Vote is Entitled to
                       Substantial Weight

       There can be no real dispute that the private interests affected by Arkansas’s signature

matching and verification system—Plaintiffs’ and Plaintiff LWVAR’s members’ fundamental

right to vote—are “entitled to substantial weight.” Jaeger, 2020 WL 2951012 (quoting Martin,

341 F. Supp. 3d at 1338). The right to vote has long been ranked by the Supreme Court as one of

the most precious political rights because it is “preservative of all rights.” Yick Wo v. Hopkins,

18 U.S. 356, 370 (1886).


               b)      There is a High Risk of Erroneous Deprivation that Would be
                       Significantly Decreased by Additional Procedures

       The existing procedure for absentee signature matching and missing signature rejections

creates a high risk of the erroneous deprivation of the fundamental right to vote.




                                                21
Case 5:20-cv-05174-PKH Document 13               Filed 09/28/20 Page 29 of 40 PageID #: 126




       Reliance on signature matching is an inherently flawed means of determining whether an

absentee or mail ballot was fraudulently or inappropriately cast. As explained above, there is a

normal degree of variance in any individual’s signature from one signing to another, and a

person’s age, level of health, stress, or change in physical or mental condition or environment

can exacerbate these variances. Mohammed Decl. ¶ 47. It is nearly impossible to accurately

assess the validity of a signature based on a sample size of only two signatures, as Arkansas law

mandates. See id. ¶ 61. A layperson—including Arkansas election officials—may easily

mistake a normal signature variance for a difference. Id. ¶ 34; see also Inman Decl. ¶ 25 (noting

she is not aware of a single Forensic Document Examiner that evaluates ballot signatures at the

local level in Arkansas). According to Ms. Inman, election officials—including herself when

acting as Election Director for Pulaski County—often do not feel qualified to assess the

handwriting of absentee voters. Inman Decl. ¶¶ 21, 24.

       Multiple courts have thus found a high likelihood of erroneous deprivation of voting

rights where lay election officials conduct signature matching. See, e.g., Jaeger, 2020 WL

2951012, at *9 (finding convincing the expert’s statement that there is a “particularly high risk of

error where only two samples [of signatures] are used for comparison”); Saucedo, 335 F. Supp.

3d at 218 (crediting “uncontroverted” evidence that “election officials are likely to make

erroneous signature-comparisons”); id. at 219 (“The natural variations in a person’s

handwriting−many of which are unintentional or uncontrollable, like mental or physical

condition−when combined with the absence of functional standards, training, review, and

oversight, create a tangible risk of erroneous deprivation.”); see also Mohammed Decl. ¶ 11.

       The risk of erroneous deprivation is also high due to the State’s failure to provide any

opportunity to cure a ballot rejected for missing signature. A missing signature is typically the




                                               22
Case 5:20-cv-05174-PKH Document 13                Filed 09/28/20 Page 30 of 40 PageID #: 127




result of simple, benign error by the voter. Arkansas absentee ballots render the likelihood of

accidental omission higher, because they include both a signature line for the voter statement in

the middle of the page and a second signature line for the optional declaration of identity at the

bottom of the same page. See 2020 Absentee Ballot Exercises. A ballot in which the voter signs

the bottom of the voter statement—the optional declaration—but fails to sign the statement itself

on the middle of the page will be rejected outright, even though the voter’s signature is actually

present on the voter statement. See 2020 Absentee Ballot Exercises 3–4.

       Arkansas voters have been and will again be erroneously deprived of their fundamental

right to vote based on a faulty determination of signature “mismatch” or inability to cure an

unsigned ballot, even where the information provided is clearly sufficient to determine that the

voter is eligible to cast the ballot and did in fact cast the ballot—indeed, even where the ballot is

actually signed, albeit not in the right spot. For the upcoming election, the number of voters

facing this risk may increase more than six-fold in some counties. Inman Decl. ¶ 32.5 Further,

recent news reports indicate increased pressure on elections officials to closely scrutinize

signatures for mismatch in the case of absentee ballot applications. Id. ¶ 33.6 This type of




5
    See also Joseph Flaherty & Tony Holt, State Gears Up for Absentee Ballots, ARKANSAS
    DEMOCRAT GAZETTE, Aug. 30, 2020, https://www.arkansasonline.com/news/2020/aug/30/
    state-gears-up-for-absentee-ballots/ (reporting that a spokesperson for Defendant Thurston
    anticipates between 125,000 to 150,000 absentee ballot applications for the November 2020
    general election—five times the number received in 2016—and that a Pulaski County clerk
    already received 10,000 applications as of August 30, 2020—more than six times the
    number received at the same time in 2016).
6
    See also Max Brantley, County Clerk Says Republicans Raising Questions about Absentee
    Ballot Applications, Sees ‘Strategy’ to Discourage Voting, ARKANSAS TIMES, Sept. 5, 2020,
    https://arktimes.com/arkansas-blog/2020/09/05/county-clerk-says-republicans-raising-
    questions-about-absentee-ballot-applications-sees-strategy-to-discourage-voting.




                                                23
Case 5:20-cv-05174-PKH Document 13                 Filed 09/28/20 Page 31 of 40 PageID #: 128




pressure on election officials only increases the risk that Arkansans will be erroneously deprived

of their fundamental right to vote.

       The procedural safeguards currently provided by the state are minimal at best, and are

clearly insufficient to protect against erroneous deprivation. There is absolutely no opportunity

for a voter to respond to an election official’s decision to reject his or her ballot because of a

missing or mismatched signature, let alone for the voter to correct the alleged discrepancy. See

Jaeger, 2020 WL 2951012, at *9 (“Voters are simply never notified or afforded any opportunity

to respond if election officials reject their ballots for a signature discrepancy. This all but ends

the inquiry.”); see also Inman Decl. ¶ 14. Any notice that a ballot has not been counted is

guaranteed not to occur until after Election Day, meaning that there is no opportunity to cure and

prevent disenfranchisement. Ark. Code Ann. § 7-5-902; see also Inman Decl. ¶ 16. Voters are

also not notified in any of the materials they receive with their absentee ballot or elsewhere that

their ballots may be rejected due to a mismatched signature.


               c)      Granting Plaintiffs’ Requested Relief Would Advance the
                       Governmental Interest in Election Integrity

       The governmental interest prong also militates in Plaintiffs’ favor. Instituting a notice

and cure process does not frustrate the governmental interest in election integrity. Rather,

“allowing voters to verify the validity of their ballots demonstrably advances—rather than

hinders—these goals.” Jaeger, 2020 WL 2951012, at *10 (emphasis added). The stakes are

particularly high considering that multiple recent elections in Arkansas were decided by fewer




                                                24
Case 5:20-cv-05174-PKH Document 13               Filed 09/28/20 Page 32 of 40 PageID #: 129




votes than the number of absentee ballots rejected for missing or mismatched signatures. Inman

Decl. ¶ 31.7

       Plaintiffs’ requested relief would entail minimal fiscal and administrative burden in

return, especially since Arkansas law already has the procedural infrastructure in place to provide

pre-rejection notice and opportunities to cure other similar deficiencies. Arkansas already

maintains a notice process for absentee ballot applications that contain a mismatched signature.

Ark. Code Ann. § 7-5-404(a)(2)(A)–(C). County election officials already have contact

information, including phone and email addresses, for many registered voters, and could

similarly provide notice to voters found to have a mismatch or missing signature on their voter

statement with minimal additional burden. See Inman Decl. ¶¶ 17–18. Arkansas also allows

voters who cast absentee ballots that are missing required voter identification information to

remedy that deficiency up to six days after the election. Ark. Const. Amendment 51§

13(b)(5)(A)–(B); Ark. Code Ann. § 7-5-308(f)(2); see also County Board of Election

Commissioners Procedures Manual at 42, 92.

       In addition, state law already permits election officials to examine absentee ballot

signatures beginning fifteen days before the November 2020 election, or beginning seven days

before future elections, which would allow the state to provide notice and an opportunity to cure



7
    For example, a March 3, 2020 Arkansas House District 31 primary election between R.J.
    Hawk and Keith Brooks was decided by 23 votes. See Max Brantley, Keith Brooks Wins in
    Recount of Republican Primary Race for House, ARKANSAS TIMES, Mar. 14, 2020,
    https://arktimes.com/arkansas-blog/2020/03/14/keith-brooks-wins-in-recount-of-republican-
    primary-race-for-house. A February 11, 2020 primary runoff election for Arkansas House
    District 34 between Joy Springer and Ryan Davis was decided by just one vote, with an
    absentee ballot cast by an overseas citizen as the tiebreaker. See Max Brantley, Joy Springer
    Wins House Race, ARKANSAS TIMES, Feb. 21, 2020, https://arktimes.com/arkansas-
    blog/2020/02/21/joy-springer-wins-house-race.




                                              25
Case 5:20-cv-05174-PKH Document 13                Filed 09/28/20 Page 33 of 40 PageID #: 130




signature deficiencies before the election. Inman Decl. ¶ 13.8 As Ms. Inman has explained,

“[c]ounty election officials in Arkansas do not reach out to voters by phone or email if there is a

signature-related issue with their absentee ballot, but they would have the ability to do so if

election commissioners made a determination about whether or not to count certain absentee

ballots prior to Election Day.” Id. ¶ 19. Arkansas law also allows the state to count certain

absentee ballots received up to ten days after Election Day from overseas voters or active

members of the military, meaning that providing a post-Election Day cure period that is still less

than those ten days would not delay the finalization of election results. Ark. Code Ann. § 7-5-

411(a)(1)(B). Therefore, “any fiscal or administrative burden is miniscule when compared to the

palpable threat of disenfranchisement.” Jaeger, 2020 WL 2951012, at *10.

       B.      Plaintiffs Are Likely to Succeed on Their Claim that Arkansas Law Unduly
               Burdens the Fundamental Right to Vote

       Plaintiffs also have a strong likelihood of success on the merits of their claim that the

signature verification system imposes an undue burden on the fundamental right to vote—in

violation of the First and Fourteenth Amendments.

       Fundamental right to vote claims are adjudicated under the Anderson-Burdick standard—

a flexible sliding scale under which courts must “weigh ‘the character and magnitude of the

asserted injury to the rights protected by the First and Fourteenth Amendments that the plaintiff

seeks to vindicate’ against ‘the precise interests put forward by the State as justifications for the

burden imposed by its rule,’ taking into consideration ‘the extent to which those interests make it




8
    See Ark. Exec. Order No. 20-44, Aug. 7, 2020, https://governor.arkansas.gov/images
    /uploads/executiveOrders/EO_20-44.pdf; Ark. Exec. Order No. 20-45, Aug. 14, 2020,
    https://governor.arkansas.gov/images/uploads/executiveOrders/EO_20-45.pdf.




                                                26
Case 5:20-cv-05174-PKH Document 13               Filed 09/28/20 Page 34 of 40 PageID #: 131




necessary to burden the plaintiff’s rights.’” Burdick v. Takushi, 504 U.S. 428, 434 (1992)

(quoting, inter alia, Anderson v. Celebrezze, 460 U.S. 780, 789 (1983)).

       Here, as already discussed above, Arkansas’s error-prone signature matching and

rejection process risks arbitrarily and summarily disenfranchising eligible absentee voters of

their fundamental right to vote by mandating the rejection of absentee ballots with missing or

mismatched signatures without notice or an opportunity to cure. See supra, Factual Background,

Sec. II.A; Mohammed Decl. Sec. III, ¶¶ 38–40, 45–46, 65; Inman Decl. ¶ 26. This imposes a

substantial burden on the right to vote under the Anderson-Burdick framework.

       Courts across the country have also found that analogous signature matching and

rejection procedures impose a serious burden on the right to vote under the Anderson-Burdick

test. See, e.g., Lee, 915 F.3d at 1321 (“hav[ing] no trouble finding that Florida’s [error-prone

signature matching] scheme imposes at least a serious burden on the right to vote” and denying

motion to stay the district court’s preliminary injunction requiring pre-rejection opportunity to

cure); Frederick v. Lawson, No. 1:19-cv-01959-SEB-MJB, 2020 WL 4882696 at *16 (S.D. Ind.

Aug. 20, 2020) (determining that the signature matching system without pre-rejection notice or

opportunity to cure created a “significant burden” on voters); see also Lewis v. Hughs, No. 5:20-

CV-00577-OLG, 2020 WL 4344432 at *13 (W.D. Tex. July 28, 2020) (finding that Plaintiffs

“have alleged enough facts to state an undue burden claim with respect to the Signature Match

Requirement”); Richardson v. Texas Sec’y of State, 2020 WL 5367216 at *33 (W.D. Tex. Sept.

8, 2020) (finding the existing signature matching process constituted a “‘severe’ burden because

voters who have their ballots rejected due to a perceived signature mismatch are provided

untimely notice of rejection and no meaningful opportunity to cure”) (emphasis in original).




                                               27
Case 5:20-cv-05174-PKH Document 13                 Filed 09/28/20 Page 35 of 40 PageID #: 132




       Courts have also confirmed that even where the disputed laws affect a relatively small

number of voters in comparison to the entire voter count, the system may nevertheless impose a

serious burden on the protected right. See, e.g., Lee, 915 F.3d at 1321–22 (11th Cir. 2019)

(finding statute imposes “at least a serious burden” although “less than 5 hundredths of a percent

of the more than 9 million total ballots cast” were rejected for signature mismatch); Ne. Ohio

Coal. for Homeless, 696 F.3d at 593 (finding statute likely unconstitutional although it affected

only 0.248% of ballots cast). Further, given the substantially higher number of absentee ballots

expected for the November election this year, which the State has already recognized, the

number of absentee ballots rejected—even if it is the same percentage as in past elections—will

also increase.

       Where, as here, the burden on voting rights is substantial, the disputed state action must

be drawn with precision to advance a compelling state interest, Burdick, 504 U.S. at 434, though

even a “slight” burden “must be justified by relevant and legitimate state interests sufficiently

weighty to justify the limitation.” Crawford v. Marion Cty. Election Bd., 553 U.S. 181, 191

(2008) (Stevens, J., controlling opinion) (internal citation and quotation marks omitted). Here,

any state interest in the signature verification requirements does not justify the corresponding

burden on voters. To the extent that the state’s interest is election integrity, providing a notice

and cure period in fact serves that interest, by preserving the right to vote of more citizens and

reducing the effects of arbitrary or inconsistent application of the procedures. See Jaeger, 2020

WL 2951012, at *10. By contrast, the current signature matching requirement actually

contradicts that interest, since it is highly error-prone and likely to result in erroneously

identifying ballots as mismatched when they were in fact cast by an eligible voter. Mohammed

Decl. Sec. III, ¶¶ 38–40, 45–46, 63. Further, the existing, haphazard, and unreliable signature




                                                 28
Case 5:20-cv-05174-PKH Document 13                 Filed 09/28/20 Page 36 of 40 PageID #: 133




verification system directly undermines public faith in elections. See Lee, 915 F.3d at 1324

(“[V]ote-by-mail voters who followed the ostensible deadline for their ballots only to discover

that their votes would not be counted and that they would have no recourse were the ones to

experience a clash with their expectations and fundamental fairness.”). Arkansas’s interests in

the signature verification requirements, therefore, cannot outweigh the burden placed on the

fundamental right to vote, and the scheme therefore fails under Anderson-Burdick.

       For the foregoing reasons, Plaintiffs are likely to succeed on the merits under either cause

of action, and thus satisfy the first preliminary injunction factor.

IV.    Plaintiffs Will Suffer Irreparable Harm Absent this Court’s Intervention

       The remaining preliminary injunction factors easily militate in favor of Plaintiffs. Where

the deprivation of the Plaintiffs’ fundamental right to vote is at risk, the second preliminary

injunction factor, irreparable harm, is clearly met. Here, Plaintiffs “will likely suffer an

irreparable injury if the injunction does not issue.” Kirkeby v. Furness, 52 F.3d 772, 775 (8th

Cir. 1995). The potential “denial of the opportunity to cast a vote that a person may otherwise be

entitled to cast—even once—is an irreparable harm.” Jones v. Governor of Fla., 950 F.3d 795,

828 (11th Cir. 2020) (emphasis added); see also, e.g., Obama for Am. v. Husted, 697 F.3d 423,

436 (6th Cir. 2012) (“A restriction on the fundamental right to vote therefore constitutes

irreparable injury.”); Williams v. Salerno, 792 F.2d 323, 326 (2d Cir. 1986) (determining that the

denial of the right to vote comprises “irreparable harm”). The disenfranchisement at risk here is

irreversible for the coming election and clearly not compensable with monetary damages,

indicating the irreparable nature of that harm. See, e.g., Odebrecht Const., Inc. v. Sec’y, Fla.

Dep’t of Transp., 715 F.3d 1268, 1289 (11th Cir. 2013) (recognizing that “[i]n the context of

preliminary injunctions,” “the inability to recover monetary damages” can “render[] the harm




                                                29
Case 5:20-cv-05174-PKH Document 13                Filed 09/28/20 Page 37 of 40 PageID #: 134




suffered irreparable”) (collecting cases, including Iowa Utils. Bd. v. FCC, 109 F.3d 418, 426 (8th

Cir.1996)).

        Here, the imminent risk of disenfranchising Plaintiffs Dr. Allen, Mr. McNee, and Ms.

Orsi, and LWVAR’s members—as well as the projected 1,000 absentee ballots that may be

rejected due to signature-related deficiencies, Inman Decl. ¶ 32—weighs heavily in favor of

finding irreparable harm and granting Plaintiffs’ requested relief. The inconsistencies in Dr.

Allen’s handwriting, resulting from his medical condition and intensive chemotherapy, Mr.

McNee’s handwriting, resulting from his age and medical condition, and Ms. Orsi’s handwriting,

resulting from her medical condition, cannot preclude them from having their votes cast and

counted. See Walker v. United States, 93 F.2d 383, 387 (8th Cir. 1937) (“[I]t is self-evident that

a legal voter is injured unless he is not only permitted to vote, but to have his vote counted as

cast.”) (internal citation omitted).

V.      The Balance of Harms Favors Granting a Preliminary Injunction

        The “state of balance between this [irreparable] harm and the injury that granting the

injunction will inflict on other parties litigant” also weighs heavily in favor of granting Plaintiffs’

requested relief. Dataphase Sys., Inc., 640 F.2d at 113.

        Here, the serious risk of Plaintiffs’ disenfranchisement plainly offsets “the function

involved and the fiscal and administrative burden that the additional or substitute procedural

requirement would entail.” Mathews, 426 U.S. at 335. Indeed, the respective burden on the state

is minimal, given that the remedy Plaintiffs seek is merely to apply procedures similar to those

already provided to other absentee voters. See, e.g., Zinermon v. Burch, 494 U.S. 113, 137

(1990) (“[W]e cannot say that predeprivation process was impossible” where state “already has

an established procedure”). If anything, the requested relief would help bring much-needed

clarity to the existing, haphazard and arbitrary system for which confusion among public



                                                30
Case 5:20-cv-05174-PKH Document 13               Filed 09/28/20 Page 38 of 40 PageID #: 135




officials abounds. See Inman Decl. ¶¶ 8, 26 (explaining that to this day, she still receives calls

from county election officials asking for help to troubleshoot problems involving processing

absentee ballots, including about how to deal with alleged signature discrepancies”).

       Plaintiffs’ requested relief thus also does not run afoul of the Supreme Court’s

admonition against altering election rules as the election draws closer, Purcell v. Gonzalez, 549

U.S. 1, 4–5 (2006) (per curiam), because it comprises “relatively minor expanded circumstances”

that have only a minimal impact on election officials. See People First of Ala. v. Sec’y of State

for Ala., No. 20-12184, 815 Fed. App’x. 505, at *514 (11th Cir. June 25, 2020); see also Jaeger,

2020 WL 2951012, at *11 (“To the extent the impact on election officials alone is relevant under

Purcell, the Court has previously weighed that impact and found the countervailing threat of the

deprivation of the fundamental right to vote more significant.”); League of Women Voters of N.

Carolina v. North Carolina, 769 F.3d 224, 248 (4th Cir. 2014) (distinguishing Purcell because

“counting out-of-precinct ballots merely requires the revival of previous practices or, however

accomplished, the counting of a relatively small number of ballots”). Indeed, “Purcell is not a

magic wand that . . . make[s] any unconstitutional election restriction disappear so long as an

impending election exists.” People First of Alabama, 815 Fed. App’x. at *514. Courts across

the country have granted similarly targeted relief in the lead-up to elections where the risk of

disenfranchisement was high—as here. See, e.g., Democracy North Carolina v. North Carolina

State Board of Elections, No. 1:20CV457, 2020 WL 4484063, at *63 (M.D.N.C. Aug. 4, 2020)

(granting injunctive relief on August 4, 2020); Frederick , 2020 WL 4882696, at *17 (granting

the plaintiffs’ motion for summary judgment on August 20, 2020); Harding v. Edwards, No. CV

20-495-SDD-RLB, Order, ECF-89 (M.D. La. Sept. 16, 2020) (granting in part injunctive relief

on September 16, 2020); see also id., 2020 WL 5371350, at *12 (M.D. La. Sept. 7, 2020);




                                               31
Case 5:20-cv-05174-PKH Document 13                 Filed 09/28/20 Page 39 of 40 PageID #: 136




Martin, 341 F. Supp. 3d at 1341–42 (granting injunctive relief about two weeks before the 2018

election).

        As such, there is no basis to conclude that granting the requested relief would impose a

severe hardship on the State proportionate to the potential disenfranchisement of eligible voters.

VI.     The Requested Relief Would Benefit the Public Interest

        Finally, with respect to Arkansas’s public interest, as discussed in Section III.A above,

the present signature verification system undermines the integrity of the election process by

rejecting valid absentee ballots on the basis of mismatched or missing signatures without

providing any pre-rejection notice or opportunities to cure. In contrast, Plaintiffs’ proposed

relief would directly contribute to the public interest, since “public faith in elections benefits

from providing voters the opportunity to have their legitimately cast ballots counted when the

reason they were not counted was not the voters’ fault.” See Lee, 915 F.3d at 1326.

        The requested injunctive relief also does not cause “voter confusion and consequent

incentive to remain away from the polls[] [a]s an election draws closer”—the driving concerns of

the Supreme Court in Purcell. Purcell, 549 U.S. at 5. Rather, “the concerns that troubled the

Supreme Court in Purcell are not present in this instance” since “[a] voter filling out an absentee

ballot will be entirely unaffected by an order enjoining the signature-matching requirement—a

requirement that applies only after a ballot is submitted.” Jaeger, 2020 WL 2951012, at *11.

        Because Defendants will suffer minimal harm if Plaintiffs’ requested relief is granted,

whereas the fundamental right to vote of the individual Plaintiffs and LWVAR’s members is at

stake, the balance of equities clearly weighs in favor of granting Plaintiffs’ request for a

preliminary injunction.




                                                32
Case 5:20-cv-05174-PKH Document 13              Filed 09/28/20 Page 40 of 40 PageID #: 137




                                       CONCLUSION

       For the foregoing reasons, Plaintiffs’ Motion for a Preliminary Injunction should be

granted.

Dated: September 28, 2020                    Respectfully submitted,


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                                             33
